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                         UNITED STATES DISTRICT COURT
                                     DISTRICT OF COLORADO


        UNITED STATES OF AMERICA                       JUDGMENT IN A CRIMINAL CASE
                                                       (For Revocation of Probation or Supervised Release)

                        v.                             Case Number: 03-cr-00023-MSK-01
                                                       USM Number: 02743-046
              SCOTT LEE KIMBALL
               a/k/a Brett Kimball                     Robert S. Berger
                                                       (Defendant's Attorney)

THE DEFENDANT: Admitted guilt to violations 1 through 3, as alleged in the probation officer's
petition.

The defendant is adjudicated guilty of these violations:
                                                                                                     Violation
 Violation Number       Nature of Violation                                                           Ended
          1             Failure to Report to the Probation Officer as Directed                       01/27/06
          2             Failure to Notify Officer of Change in Residence                             01/13/06

        The defendant is sentenced as provided in pages 2 through 5 of this judgment in accordance
with the findings and conclusions made in open court, a transcript of which is attached hereto and
incorporated herein by this reference. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.

       It is ordered that the defendant must notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant must notify the court and United States Attorney of material changes in economic
circumstances.

        It is further ordered that the Addendum to this judgment, which contains the defendant’
                                                                                              s social
security number, residence address and mailing address, shall be withheld from the court file and
retained by the United States Probation Department.

                                                                           May 22, 2006
                                                                    Date of Imposition of Judgment



                                                       s/Marcia S. Krieger
                                                                          Signature of Judge



                                                             Marcia S. Krieger, U.S. District Judge
                                                                        Name & Title of Judge



                                                        May 24, 2006
                                                                                Date
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                               ADDITIONAL VIOLATIONS

                                                                       Violation
Violation Number   Nature of Violation                                  Ended
       3           Leaving the District without Permission             11/18/05
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                                            IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to
be imprisoned for a total term of ten (10) months.

        The defendant is remanded to the custody of the United States Marshal.




                                              RETURN


I have executed this judgment as follows:




        Defendant delivered on                           to



at                                 , with a certified copy of this judgment.




                                                                 UNITED STATES MARSHAL
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                                       By
                                                 Deputy United States Marshal
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                                       SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of
twenty-six (26) months.

      The defendant must report to the probation office in the district to which he is released within
72 hours of his release from the custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state or local crime.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and two periodic drug tests thereafter.

        The defendant shall not possess a firearm as defined in 18 U.S.C. § 921.

      If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

        The defendant must comply with the standard conditions that have been adopted by this court
as well as any additional conditions on the attached page.

                           STANDARD CONDITIONS OF SUPERVISION

1)      The defendant shall not leave the judicial district without the permission of the court or
        probation officer.
2)      The defendant shall report to the probation officer as directed by the court or probation officer
        and shall submit a truthful and complete written report within the first five days of each month.
3)      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer.
4)      The defendant shall support his dependents and meet other family responsibilities.
5)      The defendant shall work regularly at a lawful occupation unless excused by the probation
        officer for schooling, training or other acceptable reasons.
6)      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment.
7)      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance, or any paraphernalia related to any
        controlled substance, except as prescribed by a physician.
8)      The defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered.
9)      The defendant shall not associate with any persons engaged in criminal activity and shall not
        associate with any person convicted of a felony, unless granted permission to do so by the
        probation officer.
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10)      The defendant shall permit a probation officer to visit him at any time at home or elsewhere
         and shall permit confiscation of any contraband observed in plain view by the probation officer.
11)      The defendant shall notify the probation officer within seventy-two hours of being arrested or
         questioned by a law enforcement officer.
12)      The defendant shall not enter into any agreement to act as an informer or a special agent of a
         law enforcement agency without the permission of the court.
13)      As directed by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant's criminal record or personal history or characteristics, and shall
         permit the probation officer to make such notifications and to confirm the defendant's
         compliance with such notification requirement.
14)      The defendant shall provide the probation officer with access to any requested financial
         information.

                           ADDITIONAL CONDITIONS OF SUPERVISION

1)       The defendant shall participate in a program of mental health treatment, as directed by the
         probation officer, until he is released from the program by the probation officer. The
         defendant shall pay the cost of treatment as directed by the probation officer. The court
         authorizes the probation officer to release to the treatment agency all psychological reports
         and/or the presentence report, for continuity of treatment.
2)       The defendant shall remain medication compliant and shall take all medications that are
         prescribed by his treating psychiatrist.
3)       The defendant shall reside in a community corrections center for a period of 6 months, to
         commence upon release from imprisonment, and shall observe the rules of that facility.
